                  Case 3:17-cv-01411-SI          Document 1-1         Filed 09/08/17     Page 1 of 4
                                                 8/28/2017 9:45:21 AM
                                                      17CV36753


     1
 2
 3

 4
 5

 6                         ;IN THE CIRCUIT COURT FOR THE STATE OF OREGON
 7                                    FOR THE COUNTY OF MULTNOMAH
 8       MARK BOWDEN,                   )
                                        )                       No.
 9                          Plaintiffs, )
                                        )                       PLAINTIFFS'S COMPLAINT FOR
10                    vs.t              )                       PRODUCT LIABILITY, NEGLIGENCE
                                        )                       and REQUEST FOR JURY TRIAL
11       UNITED RENTALS (NORTH AMERICA) )                       ORS 21.160
         INC., and GENIE INDUSTRIES     )
12       (A TEREX BRAND) INC.,          )
                                        )                       (Not Subject to Mandatory Arbitration)
13                          Defendants. )                              (Claim For $530,000.00)
                                        )
14
15                                                    COUNT I
16                                            PRODUCT LIABILITY
17                                          (As against All Defendants)
18               As and for Plaintiffs First Count for Relief, Plaintiff complains and alleges, as follows:
19                                                        1.
20              At all times material herein, Defendant, United Rentals (North America) Inc., was and is
21       an active Delaware corporation, licensed to do business in the State of Oregon and conducting
22       such business by way of renting out construction equipment to various companies and
23       individuals.
24                                                        2.
25              At all times material herein, Defendant, Genie Industries (a Terex Brant) Inc., was and is
26       a Washington corporation, engaged in the manufacturing of equipment, including the self
27       propelled man lifi/boom that injured the Plaintiff, as hereinafter alleged.
                                                                                              LAW OFFICES OF
                COMPLAINT FOR PRODUCT LIABILITY                                           BRIAN R. WHITEHEAD, P.C.
                NEGLIGENCE, and REQUEST FOR                                                    1610 12'4 SI., S.E.
                                                                                             Selein, Oregon 97302
         1      JURY TRIAL                                                                      (503)364-8505

                                                                                                     Exhibit 1
                                                                                                   Page 1 of 4
             Case 3:17-cv-01411-SI           Document 1-1         Filed 09/08/17       Page 2 of 4




                                                       3.
 2           On or bef6re September 20, 2015, Plaintiff's employer rented a 2013 Genie S-45, 4 x 4
 3   self propelled marl lift boom from United Rentals to complete necessary repairs on a ship. The
 4   lift was delivered to the Plaintiff's work site in Portland, Oregon by personnel of Defendant,
 5   United Rentals.
 6                                                     4.
 7           On or aboUt September 20, 2015, Plaintiff was operating the 2013 Genie S-45 when he
 8   was violently thrown back and forth inside the man cage at the end of the boom causing the
 9   following injurid:
10           L3 transverse process fracture; L4 transverse process fracture; L4-5 disc
             herniation; cervical strain/sprain; lumbosacral strain/sprain; right knee sprain;
11           thoracic strain/sprain; right knee acute meniscal tear; and, left shoulder
             strain/sprain.
12
                                                       5.
13
            The above=mentioned 2013 Genie S-45 was dangerously defective in the following
14
     particulars:
15
             1.     lIat the man lift causes the operator to be violently thrown about inside the lift
16
                    cage when:
17
                    a)Et'   the lift is raised off the ground but not enough to breach the horizontal
18                          plane;
                    b)      the lift drive speed selector is set for level ground (allowing for maximum
19                          speed);
                    c)      the engine idle selector is set for the hare symbol (allowing the foot switch
20                          to activate at high speeds);
                    d)::    the units steering axle is positioned nearest the platform with the wheels
21                          steered to the side; and
                    e)      the foot switch is depressed by the operator.
22
            2.      That the lift could have and should have been designed to be inoperable when the
23
                    cohtrols were set as noted above, or at the very least, this configuration of the lift
24
                    and the controls should have prevented the high speed operation of the lift.
25
            3.      That the lift was also dangerously defective in that there were no warnings on the
26
                    lift or in the operator's manual that warned against the danger of operating the lift
27
                                                                                            LAW OFFICES OF
            COMPLAINT FOR PRODUCT LIABILITY                                             BRIAN R. WHITEHEAD, P.C.
            NEGLIGENCE, and REQUEST FOR                                                      1610 12° St.. S.E.
                                                                                           Salem Oregon 97302
     2      JURY TRIAL                                                                        (503) 364-3505

                                                                                                   Exhibit 1
                                                                                                 Page 2 of 4
             Case 3:17-cv-01411-SI              Document 1-1         Filed 09/08/17      Page 3 of 4



                          i.

 1                   configuration noted above with the controls set as noted above.
 2                                                         6.
 3           By virtue of the negligent acts of the Defendants, the defects alleged above and the
 4   injuries incurred as a result of these defects, Plaintiff has incurred medical expenses in the
 5   approximate sunrof $20,000.00, the exact amount to be determined at trial, which is the
 6   reasonable value of the services rendered, all to Plaintiffs economic damages in the sum of
 7   $20,000.00.
 8                                                         7.
 9           By virtue of the negligent acts of Defendants, the defects alleged above and the injuries
10   hereinabove referited to, Plaintiff has suffered the loss of wages in the amount of $90,000.00, the
11   exact amount to be determined at trial, all to Plaintiffs economic damage in the sum of
12   $90,000.00.         1'
13                                                        8.
14          By virtue of the negligent acts of the Defendants, the defects alleged above and the
15   injuries hereinabOve referred to, Plaintiff has suffered a future loss of earnings in the amount of
16   $120,000.00, the exact amount to be determined at trial, all to Plaintiffs economic damage in the
17   sum of $120,000..50.
18                                                        9.
19          By virtue Of the negligent acts of the Defendants, the defects alleged above and the+
20   injuries hereinabove referred to, Plaintiff has suffered pain and agony, and will for the balance of
21   his life, continue to suffer pain and agony, and will suffer emotional distress, and loss and
22   interference with         usual and customary lifestyle, entitling Plaintiff to an award of non-
23   economic damads in the amount of $300,000.00.
24                                                   COUNT II
25                                                NEGLIGENCE
26                                          (As against All Defendants)
27          As and foi• Plaintiff's Second Count for Relief, negligence, Plaintiff complains and
                                                                                               LAW OFFICES OF
            COMPLAINT FOR PRODUCT LIABILITY                                                BRIAN R. WHITEHEAD, P.C.
            NEGLIGgNCE, and REQUEST FOR                                                         1610 126 St., S.E.
                                                                                              Sawn, Oregon 97302
     3      JURY TR' IAL                                                                         (503)364.8505


                                                                                                     Exhibit 1
                                                                                                   Page 3 of 4
              Case 3:17-cv-01411-SI          Document 1-1         Filed 09/08/17      Page 4 of 4




 1   alleges, as foliowg:
 2                                                     10.
 3            Plaintiff re-alleges Paragraphs 1 through 9 of Plaintiff's First Count for Relief.
 4                                                     11.
 5            The Defendant, Genie Industries, was negligent in causing Plaintiff's injuries in designing
 6   their lift to have the dangerous defects noted above.
 7                                                     12.
 8           The Defendant, Genie Industries, was further negligent in causing Plaintiff's injuries in
 9   failing to warn users of the dangerous defects of the lift, as noted above.
10                                                     13.
11           The Defendant, United Rentals, was negligent in causing Plaintiff's injuries in that they
12   knew or should hive known of the dangerous defects noted above, and either should have
13   purchased an altelnate product to rent to its customers or warned its customers of the dangerous
14   defects in the lift.:
15                                                     14.
16           Plaintiff hereby demand a jury trial.
17           1.       For economic damages in the following sums:
                         3
18                    a.     $20,000.00 for medical expenses incurred;
19                    b. ;   $90,000,000.00 for lost wages;
20                           $120,000.00 for future loss of earnings;
21           2.       For non-economic damages for future and past pain, suffering and loss of lifestyle
22                    in.the amount of $300,000,000.00;
23           3.      Fair costs and disbursements incurred herein.
24           DATED dlis 25th day of August, 2017.
25
26
                                                                  ehea
27                                                     orney for Plainti
                                                                                            LAW OFFICES OF
            COMPLAINT FOR PRODUCT LIABILITY                                             BRYAN R. WHITEHEAD, P.C.
            NEGLIGENCE, and REQUEST FOR                                                      161012'" St S.E.
                                                                                           Salem, Oregon 97302
     4      JURY TRIAL                                                                        (503) 364-8505


                                                                                                  Exhibit 1
                                                                                                Page 4 of 4
